4:12-cv-03100-JMG-CRZ Doc # 1 Filed: 05/18/12 Page 1 of 6 - Page ID # 1
4:12-cv-03100-JMG-CRZ Doc # 1 Filed: 05/18/12 Page 2 of 6 - Page ID # 2
4:12-cv-03100-JMG-CRZ Doc # 1 Filed: 05/18/12 Page 3 of 6 - Page ID # 3
4:12-cv-03100-JMG-CRZ Doc # 1 Filed: 05/18/12 Page 4 of 6 - Page ID # 4
4:12-cv-03100-JMG-CRZ Doc # 1 Filed: 05/18/12 Page 5 of 6 - Page ID # 5
JS 44 (Rev. 09/11)
                          4:12-cv-03100-JMG-CRZ Doc # 1 Filed: 05/18/12 Page 6 of 6 - Page ID # 6
                                                                             CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                         DEFENDANTS
Richard B. Kimbrough                                                                                    United States of America


     (b) County of Residence of First Listed Plaintiff Saline                                             County of Residence of First Listed Defendant              Saline
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.


     (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
James A. Cada, Edward F. Hoffman, Linda M. Jewson
1024 K Street, Lincoln, NE 68508
(402) 477-2233
II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                     (For Diversity Cases Only)                                         and One Box for Defendant)
’ 1     U.S. Government               ’ 3 Federal Question                                                                    PTF        DEF                                           PTF      DEF
          Plaintiff                         (U.S. Government Not a Party)                       Citizen of This State         ’ 1        ’ 1       Incorporated or Principal Place      ’ 4 ’ 4
                                                                                                                                                   of Business In This State

’ 2     U.S. Government               ’ 4 Diversity                                             Citizen of Another State          ’ 2     ’    2   Incorporated and Principal Place     ’    5   ’ 5
          Defendant                         (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                Citizen or Subject of a           ’ 3     ’    3   Foreign Nation                       ’    6   ’ 6
                                                                                                  Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)
           CONTRACT                                          TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY         ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158            ’   375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -         of Property 21 USC 881        ’ 423 Withdrawal                   ’   400 State Reapportionment
’   130 Miller Act                   ’   315 Airplane Product               Product Liability   ’ 690 Other                               28 USC 157                   ’   410 Antitrust
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                               ’   430 Banks and Banking
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                            PROPERTY RIGHTS                  ’   450 Commerce
        & Enforcement of Judgment             Slander                       Personal Injury                                         ’ 820 Copyrights                   ’   460 Deportation
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                       ’ 830 Patent                       ’   470 Racketeer Influenced and
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                       ’ 840 Trademark                            Corrupt Organizations
        Student Loans                ’   340 Marine                         Injury Product                                                                             ’   480 Consumer Credit
        (Excl. Veterans)             ’   345 Marine Product                 Liability                        LABOR                      SOCIAL SECURITY                ’   490 Cable/Sat TV
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY        ’   710 Fair Labor Standards        ’   861 HIA (1395ff)               ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud                 Act                         ’   862 Black Lung (923)                   Exchange
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending    ’   720 Labor/Mgmt. Relations       ’   863 DIWC/DIWW (405(g))         ’   890 Other Statutory Actions
’   190 Other Contract                       Product Liability        ’ 380 Other Personal      ’   740 Railway Labor Act           ’   864 SSID Title XVI             ’   891 Agricultural Acts
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage     ’   751 Family and Medical          ’   865 RSI (405(g))               ’   893 Environmental Matters
’   196 Franchise                            Injury                   ’ 385 Property Damage             Leave Act                                                      ’   895 Freedom of Information
                                     ’   362 Personal Injury -              Product Liability   ’   790 Other Labor Litigation                                                 Act
                                             Med. Malpractice                                   ’   791 Empl. Ret. Inc.                                                ’   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS               PRISONER PETITIONS                Security Act                  FEDERAL TAX SUITS                ’   899 Administrative Procedure
’   210 Land Condemnation            ’   440 Other Civil Rights       ’ 510 Motions to Vacate                                       ’ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
’   220 Foreclosure                  ’   441 Voting                         Sentence                                                       or Defendant)                       Agency Decision
’   230 Rent Lease & Ejectment       ’   442 Employment                 Habeas Corpus:                                              ’ 871 IRS—Third Party              ’   950 Constitutionality of
’   240 Torts to Land                ’   443 Housing/                 ’ 530 General                                                        26 USC 7609                         State Statutes
’   245 Tort Product Liability               Accommodations           ’ 535 Death Penalty              IMMIGRATION
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 540 Mandamus & Other    ’ 462 Naturalization Application
                                             Employment               ’ 550 Civil Rights        ’ 463 Habeas Corpus -
                                     ’   446 Amer. w/Disabilities -   ’ 555 Prison Condition          Alien Detainee
                                             Other                    ’ 560 Civil Detainee -          (Prisoner Petition)
                                     ’   448 Education                      Conditions of       ’ 465 Other Immigration
                                                                            Confinement               Actions

V. ORIGIN                 (Place an “X” in One Box Only)
                                                                                                                  Transferred from
’ 1 Original           ’ 2 Removed from          ’ 3 Remanded from             ’ 4 Reinstated or ’ 5 another district                    ’ 6 Multidistrict
    Proceeding             State Court                    Appellate Court              Reopened                   (specify)                       Litigation
                                   Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C Section 1346(b) and 42 U.SC. Section 233
VI. CAUSE OF ACTION Brief description of cause:
                                            Medical Malpractice involving federal employee/Veterans Administration employee physician(s) & staff.
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION    DEMAND $                                                                            CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER F.R.C.P. 23              1,000,000.00                                                                           JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                        DOCKET NUMBER

DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD

05/18/2012                                                             /S/ Linda M. Jewson (#22910)
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                  APPLYING IFP                                    JUDGE                           MAG. JUDGE


                 Print                                Save As...                                                                                                              Reset
